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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
____________________________________




                               Plaintiff(s)
                  -v-                                                 RULE 7.1 STATEMENT




                    Defendant(s)                                            Case Number
_____________________________


Pursuant to Federal Rule of Civil Procedure 7.1, the undersigned counsel for




(a private non-governmental party or intervenor) certifies the following:

Part I

Complete this portion in all cases.
Identify any corporate affiliates, subsidiaries, and/or parent corporation and any publicly held
corporation owning 10% or more of the stock of any non-governmental corporate party or
intervenor. If there are no such corporations, the form shall so state.




                                                  1
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Part II

Complete this portion only if jurisdiction is based on diversity of citizenship under 28 U.S.C. §
1332(a).
Name and identify the citizenship of every individual or entity whose citizenship is attributed to
that party or intervenor for purposes of establishing jurisdiction based upon diversity of citizenship
(note: the citizenship of an L.L.C. is the citizenship of each of its members).




Date



                                                           Signature of Attorney




                                                           Attorney Bar Code




Note – This form is required to be filed when the action is filed in, or removed to, federal court,
and when any later event occurs that could affect the court’s jurisdiction under 28 U.S.C. §
1332(a).

Form Rule7_1.pdf SDNY Web 12/2022

                                                  2
